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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE



 LIPOCINE INC.,

                        Plaintiff,

                v.                                            C.A. No. 19-622-WCB

 CLARUS THERAPEUTICS, INC.,

                        Defendant.




                         SECOND AMENDED SCHEDULING ORDER

       Because of the ongoing effects of the COVID-19 pandemic, the following changes will be

made to the scheduling order in this case:

       1. The pretrial conference scheduled for January 8, 2021, is canceled.

       2. The jury trial scheduled for the week of February 8, 2021, is canceled.

       3. A telephonic hearing will be held on Friday, January 15, 2021, at 2 p.m. Eastern Time.

Arguments will be heard at that time on Defendant Clarus Therapeutics, Inc.’s Motion for Summary

Judgment, Dkt. No. 184, and Defendant Clarus Therapeutics, Inc.’s Daubert Motion to Exclude

Certain Damages Opinions of Plaintiff’s Expert Brian Segers, Dkt. No. 188. Dial-in information will

be sent by email to counsel of record prior to the hearing.

       4. The pretrial conference and jury trial will be rescheduled once it becomes clear when jury

trials will resume in the District of Delaware.
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       IT IS SO ORDERED.

      SIGNED THIS 28th day of December, 2020




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                                      WILLIAM C. BRYSON
                                      UNITED STATES CIRCUIT JUDGE
